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A093 Search and Seizure Warrant vo
Nove 0 20zt———
UNITED STATES DISTRICT COURT couRT
DISTRICT,
___ for the | CLERK Ret OF ARIZONA
District of Arizona ByYWWA DEPUTY |
- In the Matter of the Search of CaseNo. Z2O7 \Y93 MG

Black Samsung Galaxy $10 5G,
no visible identifiable numbers.

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

YOU ARE COMMANDED to execute this warrant on or before (Z| \u 202d (not to exceed 14 days)

C in the daytime 6:00 a.m. to 10:00 p.m. & at any time in the day or night as I find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the pet'son from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on

criminal duty in the District of Arizona.

CI find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or

seized O for 30 days (not to exceed 30) O until, the facts justifying, the later specific date of

 

Date and time issued: \|30|2020 ax Spm

foes scat

City and state: Yuma, Arizona onorable James F. Metcalf, U.S. Magistrate Judge
L “Printed name and title

 

 
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ATTACHMENT A
Property to be searched

The property to be searched is a black Samsung Galaxy $10 5G (hereafter the
“SUBJECT CELLULAR TELEPHONE”), the serial number or any other identifiable
numbers on the cellular telephone are unknown due to the SUBJECT CELLULAR
TELEPHONE having a pattern password not known to Agents. The SUBJECT
CELLULAR TELEPHONE is currently stored at the Yuma Homeland Security
Investigations (HSI) office located at 7431 E. 30" Street, Yuma, Arizona 85365.

This warrant authorizes the forensic examination of the SUBJECT CELLULAR
TELEPHONE for the purpose of identifying the electronically stored information
described in Attachment B.

 
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1.

ATTACHMENT B
Property to be seized

Any records and information found within the digital contents of the

SUBJECT CELLULAR TELEPHONE that relate to violations of 21 U.S.C. §§ 841(a)(1)
& 21 US.C. § 952, 960 (a)(1) and (b)(1)(H), including:

a.

2.

all information related to the sale, purchase, receipt, shipping, importation,
transportation, transfer, possession, or use of drugs,

all information related to buyers or sources of drugs (including names,
addresses, telephone numbers, locations, or any other identifying
information);

all bank records, checks, credit card bills, account information, or other
financial records;

all information regarding the receipt, transfer, possession, transportation, or
use of drug proceeds; |
any information recording schedule or travel;

evidence indicating the cellular telephone user’s state of mind as it relates to
the crime under investigation;

contextual information necessary to understand the above evidence.

Any records and information found within the digital contents of the

SUBJECT CELLULAR TELEPHONE showing who used or owned the device at the time

the things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history;

As used above, the terms “records” and “information” includes records of telephone

calls; names, telephone numbers, usernames, or other identifiers saved in address books,

contacts lists and other directories; text messages and other stored communications;

 
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subscriber and device information; voicemails or other audio recordings; videos;
photographs; e-mails; internet browsing history; calendars; to-do lists; contact information;
mapping and GPS information; data from “apps,” including stored communications;
reminders, alerts and notes; and any other information in the stored memory or accessed

by the electronic features of the cellular telephone.

 
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AO 106 Application for a Search Warrant
UNITED STATES DISTRICT COURT NOV 8 9 2020
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District of Arizona DISTRIGP SE Ae SQURT
[eyYNw DEPUTY
In the Matter of the Search of CaseNo. ZO-\YASM eB
Black Samsung Galaxy S10 5G,
no visible identifiable numbers. (Filed Under Seal)

APPLICATION FOR A SEARCH WARRANT

Il, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property:

As further described in Attachment A
located in the District of Arizona, there is now concealed:
As set forth in Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is:
evidence of a crime;
Ci contraband, fruits of crime, or other items illegally possessed;
(& property designed for use, intended for use, or used in committing a crime;
Ca person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

 

 

Code/Section Offense Description
21 U.S.C. § 841 Possession with Intent to Distribute a Controlled Substance
21 U.S.C. § 952 Importation of a Controlled Substance

 

The application is based on these facts:
See attached Affidavit of Special Agent Antonio Tafoya

Continued on the attached sheet.

O Delayed notice of _30_ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

; Digitally signed by ANTONIO TAFOYA
A NTO N | O TA FOYA Sate 2020.11.27 14:11:16 -07'00'

Applicant’s Signature

Reviewed by AUSA Brandon M. Brown

 

. Antonio Tafoya / HSI / Spegial Agent
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Sworn to before me,and-signed+rmy-presesce- i
a

Date: _\\\30\7.02-0 Si sjantipe ,
City and state: Yuma, Arizona Hon e James F. Metcalf, U.S. Magistrate Judge
(oo ' Printed name and title

 

 

 
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ATTACHMENT B
Property to be seized

Any records and information found within the digital contents of the

SUBJECT CELLULAR TELEPHONE that relate to violations of 21 U.S.C. §§ 841(a)(1)
& 21 U.S.C. § 952, 960 (a)(1) and (b)(1)(H), including:

a.

2.

all information related to the sale, purchase, receipt, shipping, importation,
transportation, transfer, possession, or use of drugs;

all information related to buyers or sources of drugs (including names,
addresses, telephone numbers, locations, or any other identifying
information);

all bank records, checks, credit card bills, account information, or other
financial records;

all information regarding the receipt, transfer, possession, transportation, of
use of drug proceeds;

any information recording schedule or travel;

evidence indicating the cellular telephone user’s state of mind as it relates to
the crime under investigation;

contextual information necessary to understand the above evidence.

Any records and information found within the digital contents of the

SUBJECT CELLULAR TELEPHONE showing who used or owned the device at the time

the things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history;

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calls; names, telephone numbers, usernames, or other identifiers saved in address books,

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photographs; e-mails; internet browsing history; calendars; to-do lists; contact information;
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reminders, alerts and notes; and any other information in the stored memory or accessed

by the electronic features of the cellular telephone.

 
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AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

Your Affiant, Antonio Tafoya, being first duly sworn, hereby deposes and states as

follows:

I. INTRODUCTION AND AGENT BACKGROUND

4, Your Affiant makes this Affidavit in support of an application under Rule 41
of the Federal Rules of Criminal Procedure for a warrant to examine the cellular telephone
described in Attachment A (hereafter “SUBJECT CELLULAR TELEPHONE”), and in
order to extract the electronically stored information set forth in Attachment B, which
represent evidence and/or instrumentalities of the criminal violations further described
below.

2. Iam a Special Agent with Homeland Security Investigations (HSI) and have
been since April 2017. Your Affiant’s responsibilities include the investigation of
violations of federal laws, including drug offenses. Prior to becoming a Special Agent for
HSI Yuma, your Affiant was an Agent with the United States Border Patrol for eleven
years, and while employed with the Border Patrol your affiant was assigned as a Task Force
Agent with the Drug Enforcement Administration for three years. During this time, your
Affiant was assigned to detect, investigate, and enforce laws pertaining to the smuggling
of illegal drugs into the United States. Your Affiant has attended and completed the
Criminal Investigator Training Program and Homeland Security Investigations Special
Agent Training at the Federal Law Enforcement Training Center in Glynco, Georgia.

3. By virtue of my employment as a Special Agent, I have performed various
tasks, which include, but are not limited to:

a. Functioning as a surveillance agent, thus observing and recording
movements of persons trafficking in controlled substances and those

suspected of trafficking in controlled substances;

 
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b. Interviewing confidential sources (CS) and sources of information (SOD)
relative to the illegal trafficking of drugs and the distribution of monies and
assets derived from the illegal trafficking of drugs (laundering of monetary
instruments);

c. Functioning as the case agent of the current investigation as well as the case
agent and co-case agent of other investigations, which have involved the
trafficking of drugs; |

da Analyzing telephone toll records, pen registers, and other records relating to
drug trafficking; and

e. Served as the affiant of tracking warrants authorizing the tracking of vehicles
and cell phones as evidence of drug trafficking and drugs trafficking
activities.

4. In the course of conducting drug investigations, I have consulted with other -
experienced investigators concerning the practices of drug traffickers and the best methods
of investigating them. In preparing this affidavit, I have conferred with other Special
Agents and law enforcement officers, who share the opinions and conclusions stated
herein. Furthermore, I have personal knowledge of the following facts or have learned
them from the individual(s) mentioned herein.

5. The statements contained in this Affidavit are based in part on information
provided to me by Special Agents of HSI and other law enforcement officers, either directly
or indirectly through their reports or affidavits; surveillance conducted by law enforcement
officers; and analysis of telephone toll records. I also rely on my experience, training, and
background as a Special Agent with HSI in evaluating this information.

6. The statements contained in this Affidavit are based on information derived
from your Affiant’s personal knowledge, training and experience; information obtained

from the knowledge and observations of other sworn law enforcement officers, either

 
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directly or indirectly through their reports or affidavits; surveillance conducted by law
enforcement officers; information provided by a confidential source; analysis of public
records; controlled purchases of drugs; analysis of social media information; analysis of
telephone records; intercepted communications; and analysis of financial records.

7. Because this Affidavit is being submitted for the limited purpose of
establishing probable cause for the requested warrant, your Affiant has not set forth all of
the relevant facts known to law enforcement officers.

Il BASIS FOR PROBABLE CAUSE —

8. On November 18, 2020, at approximately 12:35 a.m., a Hispanic male
identified as Santiago Roberto MENDEZ-Zamudio and a Hispanic female identified as
Dana VILLAPUDUA-Navarro applied for admission into the United States through the
San Luis, Arizona Port of Entry (POE). MENDEZ was the driver and registered owner of
a black 2014 Dodge Challenger.

9. MENDEZ presented his United States passport card bearing his photograph
and biographical information as his entry document. While in the primary lane Customs
and Border Protection Officer (CBPO) F. Salazar questioned MENDEZ as to his purpose
in the United States. MENDEZ stated he was going to Yuma, Arizona after visiting some
family in Mexico. While conducting his inspection CBPO Salazar obtained a computer-
generated alert for the Dodge Challenger. CBPO Salazar obtained a negative customs
declaration from MENDEZ. CBPO Salazar then referred MENDEZ, VILLAPUDUA and
the vehicle to the secondary inspection area for further inspection. Prior to entering the
secondary inspection area MENDEZ drove the Dodge Challenger through the Z-portal
(vehicle x-ray) machine.

10. In the vehicle secondary inspection area CBPO S. Barragan encountered
MENDEZ and VILLAPUDUA while in the Dodge Challenger. Both MENDEZ and
VILLAPUDUA provided legal entry documents to enter the United States. CBPO

 
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| Barragan asked MENDEZ questions pertaining to his intended destination in the United
States and vehicle ownership. MENDEZ stated he was traveling home to Yuma, Arizona
and claimed ownership of the Challenger and all contents inside the vehicle. MENDEZ
also stated he works at a tire shop located in the Foothills area of Yuma, Arizona. CBPO
Barragan also obtained a negative customs declaration and directed both MENDEZ and
VILLAPUDUA to prepare the vehicle for inspection. Part of preparing the vehicle for
inspection is leaving all personal belongings inside the vehicle. Two cellular phones were
left on the dashboard of the Challenger. A black Samsung Galaxy $10 5G cellular
telephone (SUBJECT CELLULAR TELEPHONE), was placed on the dashboard above
the steering while where MENDEZ was sitting, and a white cellular telephone in a blue
case was place on the dashboard in front of the front passenger seat where VILLAPUDUA
was sitting. MENDEZ and VILLAPUDUA were instructed to wait in the secondary
inspection lobby while the vehicle was inspected.

11. CBPO McMaster was assigned to the Z-portal machine and performed image
analysis and observed anomalies in the trunk of the vehicle. CBPO McMaster notified
CBPO Barragan of his image findings. CBPO Barragan observed a large speaker box in
the trunk. CBPO Barragan attempted to move the speaker box and noticed it was unusually
heavy. CBPO Barragan then moved to the backseat area and lowered the back seats to gain
access to the trunk and rear of the speaker box. CBPO Barragan was able to remove the
rear cover of the speaker box and discovered cellophane packages. CBPO Barragan then
requested assistance from Canine Enforcement Officer (CEO) Michel and his canine
partner. CEO Michel, using his canine partner conducted a vehicle sniff of the Challenger.
CEO Michel advised CBPO Barragan that his canine alerted to the backseat area of the
vehicle.

12. _ A further search of the speaker box revealed a total of 32 packages containing
a white crystal-like substance. CBPO Barragan probed a random package and field tested

 
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the crystal-like substance. The substance tested positive for the properties of
methamphetamine. The aggregated weight of the 32 packages was 24.05 kilograms. Both
MENDEZ and VILLAPUDUA were later released without issue due to the Covid-19
pandemic.

13. The SUBJECT CELLULAR TELEPHONE is currently in the lawful
possession of Homeland Security Investigations. Homeland Security Investigations
Agents seized the black Samsung Galaxy $10 5G cellular telephone because it was found
in the Dodge Challenger on the dashboard above the steering wheel and in front of the
driver’s seat where MENDEZ was sitting. MENDEZ place the cellular telephone there as
part of preparing his vehicle for secondary inspection at the San Luis, Arizona Port of
Entry.

14. Based on training and experience, your Affiant knows that drug couriers
often use cellular phones to communicate with co-conspirators to coordinate the pick-up
and delivery of controlled substances. Your Affiant also knows that international drug
trafficking is highly compartmentalized, and that couriers often have limited knowledge of
the final destination of drug loads. Directions and final destination locations are often
communicated to couriers through other co-conspirators via cellular phone communication
while the load is being transported. Given the seizure of approximately 24 kilograms of
suspected methamphetamine in the vehicle, there is probable cause to believe there is
evidence of drug trafficking on SUBJECT CELLILAR TELEPHONE, including but not
limited to communication with co-conspirators and meet locations relevant to drug
trafficking.

15. The SUBJECT CELLULAR TELEPHONE is currently stored at the Yuma
Homeland Security Investigations (HST) office located at 7431 E. 30th Street, Yuma,
Arizona 85365. In my training and experience, I know that the SUBJECT CELLULAR

TELEPHONE has been stored in a manner in which the contents are, to the extent material

 
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to this investigation, in substantially the same state as they were when the SUBJECT
CELLULAR TELEPHONE first came into the possession of Homeland Security
Investigations.

I. ITEMS TO BE SEIZED .

16. Based upon the facts contained in this Affidavit, your Affiant submits there
is probable cause to believe that the items listed in Attachment B will be found in the
contents of the SUBJECT CELLULAR TELEPHONE.

17. Based on my training, education, and experience, and discussions with other
trained law enforcement personnel, along with information provided by sources of
information and confidential sources, your Affiant knows the following:

a. Drug traffickers commonly use cellular telephones to communicate
with other drug traffickers and customers about drug-related activities through the use of
telephone calls, text messages, email, chat rooms, social media, and other internet- and
application-based communication forums. Moreover, drug traffickers commonly use other
capabilities of cellular telephones to further their drug trafficking and money laundering
activities. Therefore, evidence related to drug trafficking activity and money laundering
activity is likely to be found on the SUBJECT CELLULAR TELEPHONE.

18. In addition to items which may constitute evidence and/or instrumentalities
of the crimes set forth in this Affidavit, your Affiant also requests permission to seize any
articles tending to establish the identity of persons who have dominion and control over
the SUBJECT CELLULAR TELEPHONE.

IV. DIGITAL EVIDENCE STORED WITHIN A CELLULAR TELEPHONE

19. As described in Attachment B, this application seeks permission to search
for records and information that might be found in the contents of the SUBJECT
CELLULAR TELEPHONE. Thus, the warrant applied for would authorize the copying of

electronically stored information under Rule 41(e)(2)(B).

 
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20. Probable cause. Your Affiant submits that there is probable cause to believe
records and information relevant to the criminal violations set forth in this Affidavit will
be stored on the SUBJECT CELLULAR TELEPHONE for at least the following reasons:

a. Your Affiant knows that when an individual uses a cellular telephone,
“the cellular telephone may serve both as an instrumentality for committing the crime and
‘also as a storage medium for evidence of the crime. The cellular telephone is an
instrumentality of the crime because it is used as a means of committing the criminal
offense. The cellular telephone is also likely to be a storage medium for evidence of crime.
From my training and experience, your Affiant believes that a cellular telephone used to
commit a crime of this type may contain: data that is evidence of how the cellular telephone
was used; data that was sent or received; notes as to how the criminal conduct was
achieved; records of Internet discussions about the crime; and other records that indicate
the nature of the offense.

b. Based on my knowledge, training, and experience, your Affiant
knows that cellular telephones contain electronically stored data, including, but not limited
to, records related to communications made to or from the cellular telephone, such as the
associated telephone numbers or account identifiers, the dates and times of the
communications, and the content of stored text messages, e-mails, and other
communications; names and telephone numbers stored in electronic “address books;”
photographs, videos, and audio files; stored dates, appointments, and other information on
personal calendars; notes, documents, or text files; information that has been accessed and
downloaded from the Internet; and global positioning system (“GPS”) information.

c. Based on my knowledge, training, and experience, your Affiant
knows that electronic files or remnants of such files can be recovered months or even years
after they have been downloaded onto a cellular telephone, deleted, or viewed via the

Internet. Electronic files downloaded to a cellular telephone can be stored for years at little

 
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or no cost. Even when files have been deleted, they can be recovered months or years later
using forensic tools. This is so because when a person “deletes” a file on a cellular
telephone, the data contained in the file does not actually disappear; rather, that data
remains on the cellular telephone until it is overwritten by new data.

d, Therefore, deleted files, or remnants of deleted files, may reside in
free space or slack space—that is, in space on the cellular telephone that is not currently
being used by an active file—for long periods of time before they are overwritten. In
addition, a cellular telephone’s operating system may also keep a record of deleted data in
a “swap” or “recovery” file.

21. Forensic evidence. As further described in Attachment B, this application
seeks permission to locate not only electronic files that might serve as direct evidence of
the crimes described on the warrant, but also for forensic electronic evidence that
establishes how the cellular telephone was used, the purpose of the use, who used it, and
when. There is probable cause to believe that this forensic electronic evidence will be found
in the contents of the SUBJECT CELLULAR TELEPHONE because:

a. Data in a cellular telephone can provide evidence of a file that was
once in the contents of the cellular telephone but has since been deleted or edited, or of a
deleted portion of a file (such as a paragraph that has been deleted from a word processing
file).

b. As explained herein, information stored within a cellular telephone
may provide crucial evidence of the “who, what, why, when, where, and how” of the
criminal conduct under investigation, thus enabling the United States to establish and prove
each element or alternatively, to exclude the innocent from further suspicion. In my
training and experience, information stored within electronic storage medium (¢.g., registry
information, communications, images and movies, transactional information, records of

session times and durations, internet history, and anti-virus, spyware, and malware

 
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detection programs) can indicate who has used or controlled the cellular telephone. This
“user attribution” evidence is analogous to the search for “indicia of occupancy” while
executing a search warrant at aresidence. The existence or absence of anti-virus, spyware,
and malware detection programs may indicate whether the cellular telephone was remotely
accessed, thus inculpating or exculpating the owner. Further, activity on a cellular
telephone can indicate how and when the cellular telephone was accessed or used. For
example, as described herein, cellular telephones can contain information that log: session
times and durations, activity associated with user accounts, electronic storage media that
connected with the cellular telephone, and the IP addresses through which the cellular
telephone accessed networks and the internet. Such information allows investigators to
understand the chronological context of cellular telephone access, use, and events relating
to the crime under investigation. Additionally, some information stored within a cellular
telephone may provide crucial evidence relating to the physical location of other evidence
and the suspect. For example, images stored on a cellular telephone may both show a
particular location and have geolocation information incorporated into its file data. Such
file data typically also contains information indicating when the file or image was created.
The geographic and timeline information described herein may either inculpate or
exculpate the user of the cellular telephone. Last, information stored within a cellular
telephone may provide relevant insight into the user’s state of mind as it relates to the
offense under investigation. For example, information within a computer may indicate the
owner’s motive and intent to commit a crime (e.g., internet searches indicating criminal
planning), or consciousness of guilt (e.g., running a “wiping” program to destroy evidence
on the computer or password protecting/encrypting such evidence in an effort to conceal it

from law enforcement).

 
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c. A person with appropriate familiarity with how a cellular telephone
works can, after examining this forensic evidence in its proper context, draw conclusions
about how the cellular telephone was used, the purpose of its use, who used it, and when.

d. The process of identifying the exact files, blocks, registry entries,
logs, or other forms of forensic evidence on a cellular telephone that are necessary to draw
an accurate conclusion is a dynamic process. While it is possible to specify in advance the
records to be sought, cellular telephone evidence is not always data that can be merely
reviewed by a review team and passed along to investigators. Whether data stored on one
cellular telephone is evidence may depend on other information stored on that or other
storage media and the application of knowledge about how electronic storage media
behave. Therefore, contextual information necessary to understand other evidence also
falls within the scope of the warrant.

e. Further, in finding evidence of how a cellular telephone was used, the
purpose of its use, who used it, and when, sometimes it is necessary to establish that a
particular thing is not present on a storage medium. For example, the presence or absence
of counter-forensic programs or anti-virus programs (and associated data) may be relevant
to establishing the user’s intent.

22. Nature of examination. Based on the foregoing, and consistent with Rule
41(e)(2)(B), the warrant your Affiant is applying for would permit imaging or otherwise
copying the contents of the SUBJECT CELLULAR TELEPHONE, including the use of
computer-assisted scans.

23. Manner of execution. Because this watrant seeks only permission to examine
a device already in law enforcement’s possession, the execution of this warrant does not
involve the physical intrusion onto a premises. Consequently, I submit there is reasonable

cause for the Court to authorize execution of the warrant at any time in the day or night.

10

 
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V. CONCLUSION

24. Your Affiant submits there is probable cause to believe that the items listed
in Attachment B, which constitute evidence and/or instrumentalities of violations of 21
U.S.C. § 841 (Possession with Intent to Distribute a Controlled Substance) and 21 U.S.C.
§ 952, 960 (Importation of a Controlled Substance) are likely to be found in the contents —
of the SUBJECT CELLULAR TELEPHONE further described in Attachment A.

Digitally signed by ANTONIO

ANTONIO TAFOYA\tarova

uf” Date: 2020.11.27 14:11:56 -07'00)

 

Special Agent Antonio Tafoya
Homeland Security Investigations

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Subscribed and sworn te-befereme this 0‘ day of November 2020.

onefableJamést. Metcalf
hited Statés Magistrate Judge

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